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Daniel J. McLoon (State Bar No. 109598)

Michael G. Morgan (State Bar No. 170611)

Sarah G. Conway (State Bar No. 261414)

JONES DAY

555 South Flower Street, Fiftieth Floor

Los Angeles, CA 90071-2300

Telephone: (213) 489-3939

Facsimile: (213) 243-2539

Email: djmcloon@JonesDay.com
mgmorgan@JonesDay.com
sgconway@JonesDay.com

Attorneys for Defendant
EXPERIAN INFORMATION SOLUTIONS, INC.

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

ROANE HOLMAN, NARCISCO
NAVARRO HERNANDEZ, MIGUEL A.
ALVAREZ,

Plaintiffs,

Vv.

EXPERIAN INFORMATION SOLUTIONS,
INC.

Defendant.

 

 

 

Case No. CV-11-00180-CW

Assigned to the Honorable
Claudia Wilken

DECLARATION OF SCOT LEVINE
IN SUPPORT OF EXPERIAN
INFORMATION SOLUTIONS, INC.’S
OPPOSITION TO PLAINTIFFS’
MOTION FOR CLASS
CERTIFICATION

Hearing: January 26, 2012
Time: 2:00 p.m.
Courtroom 2

DECLARATION OF S. LEVINE ISO
OPPOSITION TO CLASS CERTIFICATION
CV-11-00180-CW

 
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I, Scot Levine, declare as follows:

Il. Iam an Account Executive for defendant Experian Information Solutions, Inc.
(“Experian”), a position I have held since October 2004, and a licensed attorney in the state of
Ulinois. Through the scope of my job duties as Account Executive, I have personal knowledge of
the facts stated in this declaration and if called as a witness, | could and would testify competently
to them.

2. I was the Account Executive handling Finex’s account from the start of their
subscription in 2008 until its discontinuation in 2010. I was the primary contact at Experian for
Finex.

3. Throughout Finex’s relationship with Experian, I expressed to Pau! Price and
Antonia Bias, both directly and indirectly, that the Collection Advantage program contained
credit information taken from Experian’s consumer credit database. I have used this fact as a
marketing point for the product with all of my collection customers, including Finex.

4. I never advised Paul Price, Antonia Blas, or any other Finex employee that
Collection Advantage reports do not contain consumer credit information nor do I recall having

any conversations regarding the Pintos case.

I declare under penalty of perjury under the laws of the United States and the State of

' California that the foregoing is true and correct.

Executed on December'24, 2011 at Sechaumbour 4 Zilli nes

Scot Levine

LAI-3155189

DECLARATION OF S, LEVINE ISO

OPPOSITION TO CLASS CERTIFICATION
CV-11-00180-CW

 
